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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   ________________________________
                                    )
   PHILLIS WINDY HOPE REILLY and    )
   MICHAEL P. REILLY                )
                                    )
              Plaintiffs,           )
                                    )
         v.                         )               No. 15-349-REB-CBS
                                    )
   6480 PICKNEY, LLC,               )
   PARKER WALTON, and               )
   CAMP FEEL GOOD, LLC              )
                                    )
              Defendants.           )
   ________________________________ )

                  PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR
                 CONTESTED JURY INSTRUCTION AND VERDICT FORM

          After conferring in good faith on proposed jury instructions, the parties were

   unable to agree on the instruction concerning whether Plaintiffs have suffered an injury

   to their property for purposes of 18 U.S.C. § 1964(c). The Court should adopt Plaintiffs’

   proposed instruction on this issue because it closely tracks the key language from the

   Tenth Circuit’s opinion in this case. These are the injuries alleged in the operative

   complaint that the Tenth Circuit said are cognizable under RICO:

          We therefore conclude that the Reillys can, at most, presently recover only
          for three types of property injuries that were plausibly pled in their Second
          Amended Complaint: (1) the interference with the Reillys’ use and
          enjoyment of their land caused by the noxious odors emanating from the
          Marijuana Growers' operation; (2) the diminution in the land's value
          presently caused by those odors; and (3) the diminution in the land's value
          presently caused by the existence of that publicly disclosed, ongoing
          criminal enterprise adjacent to the Reillys’ land.



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   Safe Streets Alliance v. Hickenlooper, 859 F.3d 865, 889 (10th Cir. 2017). To further

   clarify the meaning of Plaintiffs’ interest in the “use and enjoyment of their land” for

   purposes of the first of those three property injuries, Plaintiffs propose additional

   language that parallels the relevant definition in Black’s Law Dictionary. See Black’s

   Law Dictionary (10th ed. 2014) (“interest in the use and enjoyment of land”: “The

   pleasure, comfort, and advantage that a person may derive from the occupancy of land.

   The term includes not only the interests that a person may have for residential,

   agricultural, commercial, industrial, and other purposes, but also interests in having the

   present-use value of the land unimpaired by changes in its physical condition.”).

          Rather than hewing to the Tenth Circuit’s formulation of the three cognizable

   property injuries Plaintiffs allege, Defendants’ competing instruction deviates from the

   court of appeals’ standard in several important respects. First, borrowing from Colorado

   nuisance law, Defendants’ instruction would direct the jury to find that Plaintiffs’ interest

   in the use and enjoyment of their property has been injured only if Plaintiffs have

   suffered an “unreasonable and substantial” interference with that interest that outweighs

   the “utility” of Defendants’ conduct. Although the Tenth Circuit looked to Colorado

   nuisance law to confirm that Plaintiffs have an interest in the use and enjoyment of their

   property, it did not make Plaintiffs’ recovery in this federal RICO suit dependent upon a

   showing that Defendants’ marijuana cultivation facility constitutes a nuisance under

   state law. To the contrary, the Tenth Circuit ruled that “whether the Reillys might have

   pursued separate nuisance claims is irrelevant to whether their § 1964(c) claims are

   viable.” 859 F.3d, at 891. Directing the jury to consider the “utility” of Defendants’


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   conduct would be especially inappropriate in light of the Court’s ruling on summary

   judgment that this conduct violates the federal drug laws and 18 U.S.C. § 1962(c).

          Second, Defendants’ proposed instruction conflates the first and second injuries

   the Tenth Circuit identified and could be read by the jury to mean that the odor emitted

   from the marijuana facility at issue only injures Plaintiffs’ property to the extent that it

   both interferes with Plaintiffs’ interest in the use and enjoyment of their property and

   diminishes the market value of Plaintiffs’ property. As the passage quoted above shows,

   the Tenth Circuit took care to treat those two injuries as distinct, and Plaintiffs are

   entitled to prevail if they can establish either of them.

          Third, several passages of Defendants’ proposed instruction are confusing and

   could prompt the jury to apply the wrong standard. Nothing in the Tenth Circuit’s opinion

   hints at any requirement that Plaintiffs show that Defendants’ conduct is “intentional,

   negligent, or unreasonably dangerous,” and in using that language Defendants’

   proposed instruction could cause the jury to wrongly impose such a requirement.

   Defendants’ instruction says that Plaintiffs must prove diminishment in the value of their

   property caused by odor emitted from the facility “beyond a preponderance of the

   evidence,” but Plaintiffs’ burden is to establish this injury to a preponderance of the

   evidence—not beyond it. Defendants’ proposed instruction also refers to “defendants’

   violation of the RICO statute” but does not explain that the Court has already found

   such a violation. An explanation of the Court’s summary judgment ruling is needed to

   ensure that the jury will not take it upon itself to determine whether Defendants have




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   violated RICO’s prohibition on operating an enterprise through a pattern of racketeering

   activity.

           For all of these reasons, Plaintiffs urge the Court to adopt their proposed

   instruction on the issue of injury to property. The parties’ disputes over the jury verdict

   form concern the same legal issues, and for the same reasons explained above the

   Court should use Plaintiffs’ proposed form.


   Date: September 29, 2018                          Respectfully submitted,

        Of Counsel:                                   s/ David H. Thompson
        Charles J. Cooper                             David H. Thompson
        Peter A. Patterson                            Counsel of Record
        Brian W. Barnes                               COOPER & KIRK, PLLC
        COOPER & KIRK, PLLC                           1523 New Hampshire Avenue, N.W.
        1523 New Hampshire Avenue, N.W.               Washington, D.C. 20036
        Washington, D.C. 20036                        (202) 220-9659
        (202) 220-9660                                (202) 220-9601 (fax)
        (202) 220-9601 (fax)                          dthompson@cooperkirk.com

                                      Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

         I hereby certify that on September 29, 2018, I electronically filed the foregoing

   with the Clerk of Court using the CM/ECF system, which will send notification of such

   filing to all attorneys who have entered appearances in this case.


                                                   s/ David H. Thompson
                                                   David H. Thompson




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